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                      IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF TEXAS
                                 TYLER DIVISION


NOVELPOINT TRACKING LLC

                      Plaintiff,                 Case No. 6:12-cv-832-LED

              v.
                                                 (Judge Davis)
FORD MOTOR COMPANY

                      Defendants.


                                           ORDER

      Before the Court is the Parties’ Joint Motion to Dismiss [DOC #10].

        It is ORDERED that the Parties’ Joint Motion to Dismiss [Doc # 10] is GRANTED with
prejudice. The Court further ORDERS that all parties are dismissed with prejudice from this
action.

       All relief not previously granted is hereby DENIED.

       The Clerk is directed to CLOSE this civil action.

             So ORDERED and SIGNED this 25th day of March, 2013.




                                    __________________________________
                                    LEONARD DAVIS
                                    UNITED STATES DISTRICT JUDGE
